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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

   Civil Action No. 20-cv-02702-SKC

   KATELYN SCHILLER,

   Plaintiff,

   v.

   THE BOARD OF GOVERNORS OF THE COLORADO STATE UNIVERSITY
   SYSTEM, BY AND ON BEHALF OF COLORADO STATE UNIVERSITY;
   OVATIONS FOOD SERVICES, LP (d/b/a SPECTRA FOOD SERVICES AND
   HOSPITALITY);
   MICHAEL BEST; and
   SCOTT SCHELL,

   Defendants.

        PLAINTIFF AND DEFENDANT THE BOARD OF GOVERNORS OF THE
         COLORADO STATE UNIVERSITY SYSTEM’S JOINT PROPOSED ESI
                              PROTOCOL

         Plaintiff, Katelyn Schiller, and Defendant, Board of Governors of the
   Colorado State University System (“CSU” or “the University”), submit the following
   protocol governing the identification and production of electronically stored
   information (“ESI”) and other documents.

   1. DEFINITIONS

            1.1   “Document” shall have the meaning contemplated by Federal Rule of
                  Civil Procedure 34(a)(1)(A).

            1.2   “Document Family” means a collection of pages or files maintained
                  together constituting a logical single communication of information,
                  but consisting of more than a single stand-alone record. Examples
                  include a fax cover, the faxed letter, and an attachment to the letter -
                  the fax cover being the “Parent,” and the letter and attachment being
                  a “Child,” or an email and associated attachments, or a presentation
                  with embedded files.


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           1.3    “Electronic Communication” shall refer to all electronic media
                  including email, text messages, Facebook Messenger, Social Media
                  messages, and applications including but not limited to WhatsApp,
                  GroupMe, and any other similar method of exchanging information.

           1.4    “Email” means an electronic means for communicating written
                  information that is deliverable to designated recipients at specific
                  addresses associated with particular Internet domains.

           1.5    “ESI” is an abbreviation of “electronically stored information” and
                  shall have the same meaning and scope as it has in Federal Rule of
                  Civil Procedure 34(a)(1)(A).

           1.6    “Hard Copy Document” means a Document that was maintained in
                  paper form.

           1.7    “Native Format” means the format of ESI in the application in
                   which such ESI was originally created.

           1.8    “Production” or “Produced” includes any exchange of Documents
                  or ESI by aProducing Party, whether voluntarily or in response
                  to a formal or informal request.

           1.9    “Producing Party” means any party that produces Documents
                  pursuant to this ESI Protocol.

           1.10   “Receiving Party” means any party that receives information,
                  Documents, or ESI produced pursuant to this ESI protocol.

           1.11   “Requesting Party” means any party that requests production of
                  information, Documents, or ESI pursuant to this ESI protocol.

           1.12   “Responsive Document” means any Document or ESI that a
                  Producing Party produces in response to any discovery request or
                  subpoena served in or in connection with this action, subject to the
                  limitations set forth in the Federal Rules of Civil Procedure, the
                  Local Rules, or Court order.

           1.13   “Search Term” means a word or a combination of words or phrases
                  designed to capture potentially relevant ESI, and includes strings of
                  words and phrases joined by proximity and Boolean connectors or
                  other syntax.


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           1.14   “Social media” shall refer to all platforms including but not limited to
                  crowdfunding websites, dating websites or applications, Facebook,
                  Twitter, Snapchat, Instagram, Pinterest, Google Plus, Tumblr, Yik
                  Yak, LinkedIn, Reddit, Tik Tok, and any other similar electronic
                  forums for social networking, connecting, or sharing.

           1.15   “Tagged Image File Format” or “TIFF” refers to the CCITT Group IV
                  graphic file format for storing bit-mapped images of ESI or Hard
                  Copy Documents.

   2. SCOPE

           2.1.   The procedures and protocols set forth in this ESI Protocol shall
                  govern the search, disclosure, and format of Documents and ESI
                  produced for use in this action to the extent available. This ESI
                  Protocol does not define the scope of production or the relevance of
                  any particular information. Nothing in this ESI Protocol establishes
                  any agreement as to either the temporal or subject matter scope of
                  discovery in this action. Nothing in this stipulation is intended to
                  alter any Producing Party, Receiving Party, or Requesting Party’s
                  rights, obligations, or responsibilities under Federal Rules of Civil
                  Procedure 26(b)(2)(B), 34(a)(1), and 37. No provision of this ESI
                  Protocol waives any objections as to the production, discoverability,
                  admissibility, or confidentiality of Documents and ESI. The discovery
                  requests, objections thereto, agreements between or among the
                  Requesting Party, Receiving Party, and/or Producing Party, and any
                  pertinent Court orders shall govern the scope of Documents and ESI
                  to be produced.

           2.2.   Nothing in this Protocol is intended to be an exhaustive list of
                  discovery obligations or rights of a Producing Party or a Requesting
                  Party. To the extent additional obligations or rights not addressed in
                  this Protocol arise under the Federal Rules of Civil Procedure, local
                  rules, or applicable state and federal statutes, they shall be
                  controlling. In particular, nothing in this ESI Protocol is meant to
                  impose any obligations on any Producing Party to search, disclose, or
                  produce information protected under federal or state law.

           2.3.   The Requesting Party, Receiving Party, and Producing Party, as
                  appropriate, shall meet and confer in an effort to resolve any disputes
                  that may arise under this ESI Protocol, prior to seeking assistance
                  from the Court.




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   3. PROCESSING SPECIFICATIONS

         The Producing Party shall collect and process Documents using reasonable
         methods that preserve available data. In the event the Producing Party
         converts ESI from its Native Format into TIFF image files prior to
         production, the Producing Party shall, to the extent reasonably feasible upon
         collection, use the following specifications when converting ESI:

               (a)    All tracked changes shall be maintained as last saved, to the
                      extent reasonably feasible upon collection, so that all changes to
                      a Document are evident, unless redactions were necessary to
                      remove privileged material.

               (b)    Author comments shall remain or be made visible, unless
                      redactions were necessary.

               (c)    ESI items shall be processed so as to maintain the date/time
                      shown in the Document as it was last saved by the custodian or
                      end user, not the date of collection or processing (i.e., shall force
                      off Auto Data).

   4. CUSTODIANS

          4.1. Plaintiff will search Plaintiff’s email accounts, Plaintiff’s social media
               accounts, and Plaintiff’s personal electronic devices, including but not
               limited to cell phones, laptops, desktops, and tablets, for ESI
               containing the search terms listed in Paragraphs 5.1 and 5.2 and
               produce all Responsive Documents.

          4.2. CSU will search, using the search terms listed in Paragraphs 5.1 and
               5.3, except as explained in Paragraph 4.3 and 4.4, the email accounts
               and other electronic files contained on CSU-owned electronic devices of
               the following CSU employees and produce all Responsive Documents:

                 4.2.1.      Joseph Parker
                 4.2.2.      Steve Cottingham
                 4.2.3.      David Crum
                 4.2.4.      Sean Fitzpatrick
                 4.2.5.      Jay McMillan
                 4.2.6.      Ryun Williams
                 4.2.7.      Mark Paquette
                 4.2.8.      Josh Sheeran
                 4.2.9.      Derek Smith
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                 4.2.10.     Jadon Dobbins
                 4.2.11.     Audrey Swenson
                 4.2.12.     Courtney Kavanagh
                 4.2.13.     Monica Rivera
                 4.2.14.     Ashley Vigil
                 4.2.15.     Diana Prieto
                 4.2.16.     Jennifer Mayhew
                 4.2.17.     Jody Donovan
                 4.2.18.     Scott Harris
                 4.2.19.     Sean Fitzpatrick
                 4.2.20.     Ramsey Crochet
                 4.2.21.     Amy Kuehl
                 4.2.22.     Brian James
                 4.2.23.     Jess Anderson
                 4.2.24.     Bret Wagner

          4.3.   CSU is not required to search the following employees’ accounts and
                 electronic files for the terms “Title IX” or “WGAC”:

                 4.3.1.      Audrey Swenson
                 4.3.2.      Courtney Kavanagh
                 4.3.3.      Monica Rivera
                 4.3.4.      Ashley Vigil
                 4.3.5.      Diana Prieto

          4.4.   In the event searches for the following terms result in an unduly
                 burdensome number of search results, CSU shall provide to Plaintiff
                 the total number of results for the relevant term. The parties shall
                 then meet and confer to discuss whether the total is unduly
                 burdensome and whether the relevant term shall be modified or
                 removed:

                 4.4.1.      Donor
                 4.4.2.      Booster
                 4.4.3.      Loge
                 4.4.4.      Landmark
                 4.4.5.      Harass!
                 4.4.6.      “Sexual Misconduct”




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   5. SEARCH TERMS

          5.1.   Joint Search Terms

    Susie OR Suzie             Wargin                      (Mike OR Michael) AND
                                                           Best
    Abigail                    Karla                       Lewis
    Shawn                      Sumstine                    Savi
    Spectra                    “Sept! 7!”                  Grab!
    Bruise!                    Drag!                       Bitch
    “Sept! 21!”                “Oct! 5!”                   Hips
    Thigh                      Pockets                     Abroad
    “study abroad”             “study-abroad”              Schell
    Gretchen                   Tribken

          5.2. Search Terms for Plaintiff’s ESI

    Cottingham                 Crum                        “presidential suite”
    Pantry                     “Sept! 5!”                  Assault!
    “sex! Assault!”            Neck /s back                “Oct! 23!”
    “Oct! 30!”                 Reward!                     Detective
    Fitzpatrick                Audrey                      Swenson
    Courtney                   Cavanaugh                   Rivera
    (Drop! OR withdraw!) /s    Miss /s class!              Athletics /s director!
    (class! OR semester)
    “Sex! Harass!”             “other girls”               Demote
    Upgrade!                   Williams                    Policy /s CSU
    CSUPD                      sixth /s (level OR floor)   “luxury suite”
    Savionne                   “women and gender           Harass!
                               advocacy center”
    “Title IX”                 Booster                     Donor
    WGAC                       Landmark                    Loge




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          5.3. Search Terms for CSU’s ESI

    Katelyn                    Schiller                    Brunch
    Guidel OR Gudiel           “deliberate! indifferen!”   Blake
    Phillips                   Clem                        Report AND “24 hour!”
    Knudsen                    Allow! /s back              “new information”
    video AND (canvas OR       Grop!                       Caress!
    loge OR stadium)
    Fail /s report             Delay! /s report            “auxiliary suite”
    Assault!                   Intoxicated                 (OEO OR “Office of Equal
                                                           Employment”) AND
                                                           Schiller
    Touch! AND (body OR        Severe AND pervasive        Open /s pocketbook
    sex!)
    Marquette                  (unacceptable OR            Loge
                               inappropriate) AND
                               behavior
    Donor                      Booster                     Landmark
    Harass!                    “sexual misconduct”         831789281

   6. AMENDMENT OF ORDER

         6.1.   Nothing herein shall preclude any Requesting Party, Receiving Party,
                or Producing Party from seeking to amend this ESI Protocol in writing,
                provided, however, that no Requesting Party, Receiving Party, and/or
                Producing Party may seek relief from the Court concerning compliance
                with the ESI Protocol until that Requesting Party, Receiving Party,
                and/or Producing Party has met and conferred in good faith with the
                other Requesting Party, Receiving Party, and/or Producing Party
                involved in the dispute.

         6.2.   Nothing in this ESI Protocol waives the right of any Producing Party
                to petition the Court for an Order modifying the terms of this ESI
                Protocol upon sufficient demonstration that compliance with such
                terms is either (1) unexpectedly or unreasonably burdensome, or (2)
                impossible, provided, however, that counsel for such Producing Party
                must first meet and confer with counsel for the Requesting Party, and
                the Requesting Party and Producing Party shall use reasonable best
                efforts to negotiate an exception from or modification to this ESI
                Protocol prior to seeking relief from the Court.




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   7. ASSERTION OF PRIVILEGE

         Pursuant to Rule 26(b)(5) of the Federal Rules of Civil Procedure, the
         Requesting Party, Receiving Party, and Producing Party hereby agree that a
         Producing Party may withhold or redact a Document if the Document
         withheld is protected by attorney-client privilege, the work-product doctrine,
         or any other applicable privilege or immunity from disclosure.

         9.1    If a Producing Party identifies portions of a Document and redacts
                such portions of the Document pursuant to Paragraph 8 of this ESI
                Protocol, the Producing Party must log the fact of redaction except if
                such redactions are solely to protect “sensitive personally identifying
                information” or “SPII” or such redactions concern attorney-client
                communications occurring after the date of Plaintiff’s December 11,
                2019, preservation notice.

         9.2    Should a Receiving Party be unable to ascertain whether or not a
                Document contained on the log is privileged or have reason to believe a
                particular entry on the log is responsive and does not reflect privileged
                information, the Receiving Party may request a meet and confer, and
                the Requesting Party, Receiving Party, and/or Producing Party, as
                appropriate, shall meet and confer about such deficiencies. The
                Producing Party shall provide additional information necessary for the
                Receiving Party to determine if the Document has been properly
                withheld or redacted. If the Requesting Party, Receiving Party, and/or
                Producing Party, as appropriate, cannot agree on the provision of such
                additional information, the Receiving Party will promptly move the
                Court for resolution.

          9.3   Privilege logs shall be produced within a reasonable time following
                production of the first production volume and shall be supplemented
                within a reasonable time following each subsequent production where
                production occurs on a rolling basis, or by another date upon
                agreement of the Requesting Party and the Producing Party. The
                Requesting Party, Receiving Party, and/or Producing Party, as
                appropriate, shall meet and confer to reach agreement regarding what
                constitutes such reasonable time for that privilege log production.


   8. PROPER BASIS FOR REDACTIONS AND WITHHOLDING
      DOCUMENTS

         Redaction or Withholding of Responsive Documents. Pursuant to Rule
         26(b)(5)(A), a party may redact or withhold responsive documents only on

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         grounds of (1) attorney-client privilege; and (2) protection under the work-
         product doctrine. If any member of a Document Family is responsive, the
         Producing Party shall produce all family members and/or portions thereof
         that are not independently protected as privileged or work-product.
         Additionally, because of the risk of irreparable harm to individuals, such as
         identity theft: (1) an otherwise responsive document that contains personal
         medical or health records not relevant to this litigation or protected by
         HIPAA, FERPA, personal credit card or personal bank account numbers,
         social security numbers, or tax identification numbers (together, “sensitive
         personally identifying information” or “SPII”) may be redacted to exclude
         SPII; (2) a document that is a member of a family that includes one or more
         responsive documents may be withheld if it contains exclusively SPII.

         To the extent documents are redacted or withheld on the above grounds, the
         redaction legends or placeholder document for a withheld family member
         should indicate the reason for the redaction as follows:

                1) REDACTED – PRIVILEGED or WITHHELD - PRIVILEGED;

                2) REDACTED – WORK PRODUCT or WITHHELD –WORK
                   PRODUCT;

                or

                (3) REDACTED – SPII or WITHHELD – SPII.

   9. PRESUMPTION OF PRIVILEGE

       The parties agree that emails between the Parties and the following domain
   names or email accounts made on or after September 4, 2020, or text messages
   to legal staff at these entities and the CSU Office of General Counsel after that date
   are presumptively privileged and need not be included in a privilege log:

         @baumgartnerlaw.com
         @rmlawyers.com
         @coag.gov
         Jannine.mohr@colostate.edu
         Jason.johnson@colostate.edu
         Jessica.salazar@colostate.edu




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   10. INADVERTENT DISCLOSURE OF PRIVILEGED INFORMATION
       (CLAWBACK PROVISION)

     The parties agree that they will take reasonable steps to protect against
     inadvertent disclosure of materials protected by the work product doctrine,
     attorney-client privilege, and governmental deliberative process privilege
     recognized by the federal courts (“protected materials”). The parties also agree
     that the inadvertent disclosure of protected materials shall not constitute a
     waiver of the attorney work product doctrine, attorney-client privilege, or the
     government deliberative process privilege. Any party that discovers it has sent
     or received protected materials shall immediately notify the opposing party so
     that appropriate steps to return or destroy the protected materials may be
     taken. By operation of the parties’ agreement, the parties are specifically
     afforded the protections of Fed. R. Evid. 502(d) and (e). This agreement
     supplements, and does not supersede, any protections already afforded by Fed.
     R. Evid. 502 or Fed. R. Civ. P. 26(b)(5)(B).

     DATED at Denver, Colorado this __ day of March, 2022.

                                                      BY THE COURT:


                                                      ________________
                                                      Hon. S. Kato Crews
                                                      Magistrate Judge




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